            Case 1:21-cr-00129-ABJ Document 159 Filed 02/21/24 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :            Case No. 21-CR-129 (ABJ)
             v.                         :
                                        :
GABRIEL AUGUSTIN GARCIA,                :
also known as “Gabriel Agustin Garcia,” :
                                        :
                   Defendant.           :

               GOVERNMENT RESPONSE TO COURT’S MINUTE ORDER

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files this response to the Court’s Minute Order of February 21,

2024.

        Defendant Garcia seeks permission for Mr. Garcia to travel out of state from February 25

through March 19, 2024. The government has no opposition to the motion. After consultation with

Pretrial Supervision, the government respectfully requests that the Court include the following

conditions in its Order:

        -    The Defendant shall provide a detailed itinerary to Pretrial Supervision by February

             23, 2024, including the address of the children’s home in Texas (if different than

             previous); and

        -    The Defendant shall report daily to Pretrial Supervision between February 25 – 29,

             2024 (i.e., drive to Texas), and March 15 – 19, 2024 (i.e., return drive from Texas)

             with the address of any stops greater than four hours 1 to include the name(s) and

             address(es) of any temporary lodging.




1
 Defendant asserted that the “only stops while driving would be for food, fuel, and sleep.” ECF
158 at ¶ 6.
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Case 1:21-cr-00129-ABJ Document 159 Filed 02/21/24 Page 2 of 2




                            Respectfully submitted,

                            MATTHEW M. GRAVES
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                            D.C. Bar Number 481052

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